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   Attorneys for Plaintiff
 7 United States of America

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:08-CR-376 WBS
12                                Plaintiff,               STIPULATION AND ORDER
                                                           REGARDING BRIEFING
13   v.                                                    SCHEDULE FOR DEFENDANT’S
                                                           MOTION FOR ACQUITTAL AND
14   LEONARD WILLIAMS,                                     NEW TRIAL
15                                Defendant.
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17          On July 31, 2014, Defendant filed a renewed motion for acquittal and motion for a new trial.

18 See ECF 558 and 558-1. By local rule, the Government’s response would be due Thursday, August

19 7, 2014. L.R. 430.1(d). The hearing on Defendant’s motion is set for September 8, 2014, at 9:30

20 a.m. Because the hearing is more than a month away, and defendant’s motion attacks sufficiency of

21 the evidence on all three counts of conviction, the parties propose the following modified briefing

22 schedule to allow additional time:

23                 Government’s opposition due:           August 22, 2014

24                 Defendant’s reply due:                 September 1, 2014

25          The parties stipulate and agree to this modified briefing schedule, and jointly request that the

26 Court so order it. In proposing this schedule, the parties have also taken into account that

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           Case 2:08-cr-00376-WBS-AC Document 560 Filed 08/07/14 Page 2 of 2



 1 undersigned counsel for the Government was out of the office sick for the first part of this week, and

 2 is scheduled to be out of the office from August 11 through August 15.

 3                                                        Respectfully submitted,

 4

 5 DATED: August 6, 2014

 6                                                        /s/ Christopher S. Hales________
                                                          CHRISTOPHER S. HALES
 7                                                        AUDREY B. HEMESATH
                                                          Assistant United States Attorneys
 8

 9                                                        /s/ Joseph Wiseman *        _
                                                          JOSEPH WISEMAN
10                                                        Counsel for Defendant LEONARD WILLIAMS
11
                                                          * Signed with permission granted via email
12

13                                               ORDER

14          IT IS SO FOUND AND ORDERED.

15 Dated: August 7, 2014

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